
In re Ezeb, Charles W., Jr.; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of E. Baton Rouge, 19th Judicial District Court Div. E, No. 11-73-7244; to the Court of Appeal, First Circuit, No. 2003-KW-2347.
Denied. La.C.Cr.P. art. 980.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
JOHNSON, J., would grant the writ.
